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                                UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TENNESSEE
                                        Western Division
                                       Office of the Clerk

Wendy R. Oliver, Clerk                                                                    Deputy-in-Charge
242 Federal Building                                                            U. S. Courthouse, Room 262
167 N. Main Street                                                              111 South Highland Avenue
Memphis, Tennessee 38103                                                          Jackson, Tennessee 38301
(901) 495-1200                                                                               (731) 421-9200


                                   NOTICE OF SETTING
                    Before Judge Mark S. Norris, United States District Judge
                                                              ___
                                             November 2, 2023



            RE:     2:23cr20191-04-MSN
                    USA v. DESMOND MILLS, JR.

            Dear Sir/Madam:

           The SENTENCING has been SET on WEDNESDAY, MAY 22, 2024 at 9:30 AM before
     Judge Mark S. Norris in Courtroom 4, 9th floor of the Federal Building, Memphis, Tennessee.

            Pursuant to Local Criminal Rule 32.1, the Presentence Report prepared by the United
     States Probation Officer shall be provided to the parties at least thirty-five (35) days prior to
     sentencing. Counsel for the parties shall submit any objections or requests in writing to the
     Probation Officer no more than fourteen (14) days after receiving the report and attempt to
     resolve any issues involving the report. No more than twenty-one (21) days after receiving
     the report, the parties shall file their position papers on sentencing with the Court. At least
     7 days before the sentencing, the Probation Officer shall submit the final report to the Court
     and the parties.

            As to defendants on bond, failure to appear without leave of court will result in a forfeiture
     of appearance bond and issuance of a warrant for arrest.

         THE DEFENSE COUNSEL SHALL PERSONALLY CONTACT THE
     DEFENDANT TO INSURE HIS/HER ATTENDANCE AT THE DESIGNATED TIME.

            If you have any questions, please contact the case manager at the number provided below.


                                           Sincerely,
                                           WENDY R. OLIVER, CLERK

                                           BY:     s/ Zandra Frazier
                                                   Zandra Frazier, Case Manager
                                                   901-495-1277
                                                   E-mail: zandra_frazier@tnwd.uscourts.gov
